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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

                                                §
 UNITED STATES OF AMERICA,
                                                §
                                                §
      Plaintiff,                                §
                                                §
                                                §
 v.                                             §    EP-21-CV-173-KC
                                                §
                                                §
 THE STATE OF TEXAS and GREG                    §
 ABBOTT, in his official capacity as            §
 Governor of the State of Texas,                §
                                                §
                                                §
      Defendants.                               §



 ANNUNCIATION HOUSE; ANGRY                      §
 TIAS & ABUELAS OF THE RIO                      §
 GRANDE VALLEY; JENNIFER                        §
 HARBURY; and FIEL HOUSTON,                     §
                                                §
      Plaintiffs,                               §
                                                §
 v.                                             §    EP-21-CV-178-KC
                                                §
 GREG ABBOTT, in his official                   §
 capacity as Governor of the State of           §
 Texas; and STEVEN MCCRAW, in                   §
 his official capacity as Director of the       §
 State of Texas Department of Public            §
 Safety,                                        §
                                                §
      Defendants.                               §

                                            ORDER

         On this day, the Court considered Plaintiffs’ Motion to Consolidate (“Motion”), ECF No.

5. Upon due consideration, the Motion is GRANTED.



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       Pursuant to Federal Rule of Civil Procedure 42(a), a district court has broad discretion to

consolidate actions pending before it if the actions involve a common question of law or fact.

Fed. R. Civ. P. 42(a); Hall v. Hall, --- U.S. ----, 138 S. Ct. 1118, 1131 (2018). When deciding

whether to exercise that discretion, courts consider factors including (1) whether the actions are

pending before the same court; (2) whether common parties are involved; (3) whether any risk of

prejudice or confusion is outweighed by the risk of inconsistent adjudications; and (4) whether

consolidation will conserve judicial resources. Clark v. PNC Bank, N.A., Civil Action No. SA-

13-CV-799-XR, 2013 WL 6668674, at *1 (W.D. Tex. Dec. 17, 2013). However, consolidation

alone “does not merge the suits into a single cause[] or change the rights of the parties.” In re

Excel Corp., 106 F.3d 1197, 1201 (5th Cir. 1997). “[M]erger is never so complete in

consolidation as to deprive any party of any substantial rights which he may have possessed had

the actions proceeded separately,” and so “separate verdicts and judgments are normally

necessary.” Hall, --- U.S. ----, 138 S. Ct. at 1130 (quotations omitted).

       The Clark factors counsel in favor of consolidation. The two cases at issue are both

pending before this Court; they involve significantly overlapping challenges to the same

Executive Order; they were filed within days of one another. Moreover, consolidation will

further judicial economy.

       Accordingly, it is hereby ORDERED that cause numbers EP-21-CV-173-KC and EP-21-

CV-178-KC be CONSOLIDATED into cause number EP-21-CV-173-KC, for discovery and

other pretrial purposes.

       IT IS ORDERED that all future filings be FILED in cause number EP-21-CV-173-KC

(Consolidated Action).




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       IT IS FURTHER ORDERED that the Clerk of Court FILE this Order in both cases,

EP-21-CV-173-KC and EP-CV-178-KC.

       IT IS FURTHER ORDERED that the Clerk of Court CONSOLIDATE and

INCORPORATE all parties and counsel in cause number EP-21-CV-178-KC into cause

number EP-21-CV-173-KC.

       IT IS FURTHER ORDERED that the Clerk of Court may take any additional steps

necessary to effectuate this consolidation.

       IT IS FURTHER ORDERED that the case styled EP-21-CV-178-KC be CLOSED

unless the Court should find cause to reopen that case at a later date

       SO ORDERED.

       SIGNED this 26th day of August, 2021.




                                              KATHLEEN CARDONE
                                              UNITED STATES DISTRICT JUDGE




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